                                                    Clear Form
DOCUMENTS UNDER SEAL                                                        TOTAL TIME (m ins): 12 minutes
M AGISTRATE JUDGE                          DEPUTY CLERK                             REPORTER/FTR
M INUTE ORDER                             Indira Aguilar                               11:51am to 12:03pm
MAGISTRATE JUDGE                           DATE                                        NEW CASE         CASE NUMBER
Kandis A. Westmore                        6/12/19                                                     19-cr-00043-YGR-7
                                                      APPEARANCES
DEFENDANT                                  AGE      CUST  P/NP   ATTORNEY FOR DEFENDANT                      PD.     RET.
Cameron Moore-Williams                              N       NP         Ashley Riser                          APPT.
U.S. ATTORNEY                              INTERPRETER                                FIN. AFFT             COUNSEL APPT'D
Shiao Lee                                                                             SUBMITTED

PROBATION OFFICER            PRETRIAL SERVICES OFFICER                  DEF ELIGIBLE FOR            PARTIAL PAYMENT
                             Victoria Gibson                            APPT'D COUNSEL              OF CJA FEES
                                       PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR             PRELIM HRG       MOTION           JUGM'T & SENTG                             STATUS
                                                                   Bail Review                                 TRIAL SET
       I.D. COUNSEL               ARRAIGNMENT              BOND HEARING               IA REV PROB. or          OTHER
                                                                 Not held             or S/R
       DETENTION HRG              ID / REMOV HRG           CHANGE PLEA                PROB. REVOC.             ATTY APPT
                                                                                                               HEARING
                                                     INITIAL APPEARANCE
        ADVISED                  ADVISED                   NAME AS CHARGED               TRUE NAME:
        OF RIGHTS                OF CHARGES                IS TRUE NAME
                                                        ARRAIGNM ENT
       ARRAIGNED ON                ARRAIGNED ON              READING W AIVED                W AIVER OF INDICTMENT FILED
       INFORMATION                 INDICTMENT                SUBSTANCE
                                                        RELEASE
      RELEASED            ISSUED                    AMT OF SECURITY           SPECIAL NOTES                 PASSPORT
      ON O/R              APPEARANCE BOND           $                                                       SURRENDERED
                                                                                                            DATE:
PROPERTY TO BE POSTED                           CORPORATE SECURITY                        REAL PROPERTY:
    CASH    $


      MOTION          PRETRIAL                 DETAINED           RELEASED        DETENTION HEARING             REMANDED
      FOR             SERVICES                                                    AND FORMAL FINDINGS           TO CUSTODY
      DETENTION       REPORT                                                      W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                            PLEA
    CONSENT                     NOT GUILTY                 GUILTY                       GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                 CHANGE OF PLEA             PLEA AGREEMENT               OTHER:
    REPORT ORDERED                                         FILED
                                                        CONTINUANCE
TO:                              ATTY APPT                 BOND Bail Review           STATUS RE:
6/14/19 (specially set)          HEARING                   HEARING                    CONSENT                 TRIAL SET

AT:                              SUBMIT FINAN.              PRELIMINARY               CHANGE OF               STATUS
                                 AFFIDAVIT                  HEARING                   PLEA
2:00 pm                                                     _____________
BEFORE HON.                      DETENTION                  ARRAIGNMENT               MOTIONS                 JUDGMENT &
                                 HEARING                                                                      SENTENCING
KAW
       TIME W AIVED              TIME EXCLUDABLE            IDENTITY /                PRETRIAL                PROB/SUP REV.
                                 UNDER 18 § USC             REMOVAL                   CONFERENCE              HEARING
                                 3161                       HEARING
                                                 ADDITIONAL PROCEEDINGS
Defendant was not present for the court proceedings. Pretrial and Deft's counsel informs the Court it was due to confusion of
timing of the hearing. The Court sets a specially set hearing for 6/14/19 at 2:00pm for the bail review hearing.

                                                                                           DOCUMENT NUMBER:
